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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Cineworld Group plc



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              8         2   9      9     6     1      1       0      4     3
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       8th Floor Vantage London, Great West Road
                                       Number               Street                                    Number         Street


                                                                                                      P.O. Box
                                       Brentford, England, UK                     TW8 9AG
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.cineworldplc.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor            Cineworld Group plc                                                 Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            512131 - Motion Picture Theaters (except Drive-Ins)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Cineworld Group plc                                                  Case number (if known)
              Name



    10. Are any bankruptcy cases           ☐ No
        pending or being filed by a        ☒ Yes.                                                                       Relationship    Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District      Southern District of Texas
       List all cases. If more than 1,                                                                                  When            09/07/2022
       attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☒   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                     ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                            other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                             Number        Street



                                                                                             City                               State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                      Statistical and administrative information

    13. Debtor's estimation of           Check one:
        available funds
                                         ☒ Funds will be available for distribution to unsecured creditors.
                                         ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of              ☐      1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
        creditors1                       ☐      50-99                        ☐       5,001-10,000                   ☒     50,001-100,000
                                         ☐      100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                         ☐      200-999




1            The estimated number of creditors and estimated amounts of assets and liabilities are being listed on a consolidated basis for all Debtor
affiliates listed on Rider 1, attached hereto.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor            Cineworld Group plc                                                 Case number (if known)
          Name



15. Estimated assets                  ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         09/07/2022
                                                               MM/ DD / YYYY


                                               /s/ James A. Mesterharm                                            James A. Mesterharm
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Restructuring Officer




18. Signature of attorney                      /s/ Matthew D. Cavenaugh                                       Date        09/07/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Matthew D. Cavenaugh
                                               Printed name
                                               Jackson Walker LLP
                                               Firm name
                                               1401 McKinney Street, Suite 1900
                                               Number                 Street
                                               Houston                                                                Texas             77010
                                               City                                                                   State               ZIP Code

                                               (713) 752-4200                                                         mcavenaugh@jw.com
                                               Contact phone                                                             Email address
                                               24062656                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                     ,
 United States Bankruptcy Court for the:
                      Southern District of Texas
                                     (State)                                                  ☐ Check if this is an
 Case number (if                                                                                  amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Cineworld Group plc.

Cineworld Group plc                                              Great Escape LLC
13th Avenue Partners, L.L.C.                                     Great Escape of Nitro, LLC
A 3 Theatres of San Antonio, Ltd.                                Great Escape of O'Fallon, LLC
A 3 Theatres of Texas, Inc.                                      Great Escape Theatres of Bowling Green, LLC
Augustus 1 Limited                                               Great Escape Theatres of Harrisburg, LLC
Augustus 2 Limited                                               Great Escape Theatres of Lebanon, LLC
Basildon Cinema 2 Limited                                        Great Escape Theatres of New Albany, LLC
Basildon Cinema Number Two 2 Limited                             Great Escape Theatres, LLC
Bromley Cinema 2 Limited                                         Hemel Hepstead Two Cinema 2 Limited
Busby AssignCo, LLC                                              Hollywood Theaters III, Inc.
Cinebarre, LLC                                                   Hollywood Theaters, Inc.
Cinemas Associates, LLC                                          Hoyts Cinemas Corporation
Cine-UK Limited                                                  Interstate Theatres Corporation
Cineworld Cinema Properties Limited                              Lois Business Development Corporation
Cineworld Cinemas Holdings Limited                               McIntosh Properties, LLC
Cineworld Cinemas Limited                                        Newcastle Cinema 2 Limited
Cineworld Elite Picture Theatre (Nottingham) Limited             Newman Online Limited
Cineworld Estates Limited                                        Next Generation Network, Inc.
Cineworld Funding (Jersey) Limited                               Oklahoma Warren Theatres II, LLC
Cineworld Holdings Limited                                       Oklahoma Warren Theatres, LLC
Cineworld HunCo Kft.                                             Pacific Rim Business Development Corporation
Cineworld South East Cinemas Limited                             Picturehouse Bookings Limited
City Screen (Brighton) Limited                                   Picturehouse Cinemas Limited
City Screen (Liverpool) Limited                                  Picturehouse Entertainment Limited
City Screen (S.O.A.) Limited                                     Poole Cinema 2 Limited
City Screen (Stratford) Limited                                  R.C. Cobb II, LLC
City Screen (York) Limited                                       R.C. Cobb, Inc.
Classic Cinemas Limited                                          Ragains Enterprises LLC
Consolidated Theatres Management, L.L.C.                         RCI/FSSC, LLC
Crown Finance US, Inc.                                           RCI/RMS, LLC
Crown Intermediate Holdco, Inc                                   Regal – 18, LLC
Crown Theatre Corporation                                        Regal Cinemas Corporation
Crown UK HoldCo Limited                                          Regal Cinemas Holdings, Inc.
CS (Brixton) Limited                                             Regal Cinemas II, LLC
CS (Exeter) Limited                                              Regal Cinemas, Inc.
CS (Norwich) Limited                                             Regal CineMedia Corporation
Eastgate Theatre, Inc.                                           Regal CineMedia Holdings, LLC
Edwards Theatres, Inc.                                           Regal Distribution Holdings, LLC
Empire Cinema 2 Limited                                          Regal Distribution, LLC
Frederick Plaza Cinema, Inc.                                     Regal Entertainment Group
Gallery Cinemas Limited                                          Regal Entertainment Holdings II LLC
Gallery Holdings Limited                                         Regal Entertainment Holdings, Inc.
Great Escape LaGrange LLC                                        Regal Gallery Place, LLC
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Regal Investment Company                   UA Swansea, LLC
Regal Licensing, LLC                       United Artists Properties I Corp.
Regal Stratford, Inc.                      United Artists Realty Company
Regal/ATOM Holdings, LLC                   United Artists Theatre Circuit II, LLC
Regal/Cinebarre Holdings, LLC              United Artists Theatre Circuit, Inc.
Regal/DCIP Holdings, LLC                   United Artists Theatre Company
RegalRealty - 17, LLC                      Valeene Cinemas, LLC
Richmond I Cinema, L.L.C.                  Wallace Theater Holdings, Inc.
The Movie Machine, L.L.C.                  Warren Oklahoma Theatres, Inc.
UA Shor, LLC




                                                                                    Page 4
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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                        )
    In re:                                              )      Chapter 11
                                                        )
    CINEWORLD GROUP PLC,                                )      Case No. 22-___________(___)
                                                        )
                              Debtor.                   )
                                                        )

                                         LIST OF EQUITY SECURITY HOLDERS2

                                                                                             Percentage of
                       Equity Holder                  Address of Equity Holder
                                                                                              Equity Held
                                                                Coolsingel 61
             Global City Theatres B.V.                             7th floor                    20.00%
                                                            Rotterdam NL 3012AB




2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules
       of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
       commencement of the chapter 11 case.
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                     )
 In re:                                              )    Chapter 11
                                                     )
 CINEWORLD GROUP PLC,                                )    Case No. 22-___________(___)
                                                     )
                         Debtor.                     )
                                                     )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following are
corporations, other than a government unit, that directly or indirectly own 10% or more of any class of the debtor’s
equity interest:

                     Shareholder                           Approximate Percentage of Shares Held
      Global City Theatres B.V.                                           20.00%
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      Fill in this information to identify the case:

      Debtor name    Cineworld Group plc, et al.
      United States Bankruptcy Court for the: Southern               District of    Texas
                                                                                   (State)                                                        2Check if this is an
      Case number (If known):                                                                                                                     amended filing




    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
    unsecured claims.


     Name of Creditor and complete             Name, telephone number, and email             Nature of the   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact                   claim (for      claim is        If the claim is fully unsecured, fill in only
                                                                                             example,        contingent,     unsecured claim amount. If claim is partially
                                                                                             trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                             bank loans,     or disputed     for value of collateral or setoff to calculate
                                                                                             professional                    unsecured claim.
                                                                                             services, and
                                                                                             government
                                                                                             contracts)

                                                                                                                             Total claim, if   Deduction for   Unsecured
                                                                                                                             partially         value of        claim
                                                                                                                             secured           collateral or
                                                                                                                                               setoff

     AMAS Ltd. T/A Jones Lang Lasalle
     P.O. Box 55791, Docklands, London,
     England E14 7AE                    credit_management@standardlife.com
1                                                                                                Rent            N/A              N/A               N/A         $7,849,764
                                        aamcashiers@eu.jll.com
     Town Hall Market Place, Henley-on-
     Thames, England RG9 2AQ



     Arvest Bank                    Shandy Belford
2    1501 W Edmond Road, Edmond, OK (405) 419-3834                                            Bank Loans         N/A              N/A               N/A         $11,900,000
     73003                          sbelford@arvest.com




     Bidvest Noonan (UK) Ltd.
                                             44 844 225 1115
3    St Magnus House 3, Lower Thames                                                          Trade Debt         N/A              N/A               N/A         $3,214,557
                                             ar@bidvestnoonan.com
     Street, london, England EC3R 6HD




     BNY Melon                               Joanne Hume
4    160 Queen Victoria Street, London,      44 (0) 1202 689653                               Bank Loans         N/A              N/A               N/A        $213,000,000
     England EC4V 4LA                        Ian.Johnson@bnymellon.com




     Booker Limited                          Terry Riley
5    Equity House Irthlingborough Road,      accountsreceivable@booker.co.uk                  Trade Debt         N/A              N/A               N/A         $2,019,919
     Wellingborough, England NN8 1LT         creditcontrol@booker.co.uk
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Debtor Name: Cineworld Group plc, et al.                                             Case Number (if known): ____________________


     Christie Digital Systems Canada
                                           ARQueries-EMEA@christiedigital.com
     Inc. - USD
 6                                         cinema.orders.emea@christiedigital.co   Trade Debt     N/A          N/A          N/A     $1,891,918
     200 Ashville Way, Workingham,
                                           m
     England RG41 2PL



     Christie Digital Systems USA Inc.
                                           Paul Haupert
     RCM
 7                                         714-220-3561                            Trade Debt     N/A          N/A          N/A     $3,952,541
     10550 Camden Drive, Cypress, CA
                                           Paul.haupert@christiedigital.com
     90630




     Cinionic Inc                          Paul Hermans
 8   11080 White Rock Rd, Suite 100,       +32 495 36 22 02                        Trade Debt     N/A          N/A          N/A     $8,639,937
     Rancho Cordova, CA 95670              paul.hermans@cinionic.com




     CJ 4DPLEX
                                         82 371 5246
     6F I-Park Mall Hangang-daero 23-gil
 9                                       youngsoo.kim6@cj.net                      Construction   N/A          N/A          N/A     $1,669,668
     55, Yongsan-gu, Seoul, South Korea
                                         hc.ahn@cj.net
     04377




    CJ 4DPLEX Americas LLC               Don Savant
 10 7082 Hollywood Blvd., Suite 600, Los 213-378-2014                              Construction   N/A          N/A          N/A     $1,718,438
    Angeles, CA 90028                    Don.savant@cj.net




    IMAX Corporation                       Mark Welton
 11 2525 Speakman Drive, Mississauga,      905-403-6254                            Trade Debt     N/A          N/A          N/A     $8,881,917
    ON, Canada L5K1B                       MWelton@imax.com




    IMAX Theatres International Ltd.
                                           Will Carass
 12 2525 Speakman Drive, Mississauga,      WCarass@imax.com
                                                                                   Construction   N/A          N/A          N/A     $2,534,949
    ON, Canada L5K 1B1




    Intertrust Technologies Corporation
                                        General Counsel                            Settlement
 13 920 Stewart Drive, Suite 100,       jmcdow@intertrust.com                      Agreement
                                                                                                  N/A          N/A          N/A     $4,500,000
    Sunnyvale, CA 94085




    JP Morgan Chase
    P.O. Box 100486, 2710 Media Center
 14 Drive, Building #6, Suite 120, Los Paramount Theat. Dist. Rcpt.,               Trade Debt     N/A          N/A          N/A     $1,865,101
    Angeles, CA 90065




    Lionsgate Film Inc.                    Harvey Shapiro
 15 579 Fifth Avenue, 14th Floor, New      (212) 621-8224                          Trade Debt     CUD          N/A          N/A     $15,135,562
    York, NY 10017                         hshapiro@sargoy.com




    Maeve Contractors Ltd.
 16 Unit 1, 5 Eastfields Avenue, London,   info@maevecontractors.co.uk             Construction   N/A          N/A          N/A     $2,868,391
    England SW18 1FU


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Debtor Name: Cineworld Group plc, et al.                                         Case Number (if known): ____________________

                                           Lisa Glendinning
    MAPP Property Management
                                           0207 908 5643
    Limited
 17 180 Great Portland Street, London,     cashier@wearemapp.com                  Rent        N/A          N/A          N/A     $3,937,518
                                           lisa.glendinning@wearemapp.com
    England W1W 5QZ
                                           yazmin.griffiths@wearemapp.com



    McCarthy Tetrault LLP
    Box 48, Suite 5300, Toronto-Dominion 416-362-1812                          Professional
 18 Bank Tower, Toronto, ON, Canada                                                           N/A          N/A          N/A     $1,662,033
                                         TOR-AR@mccarthy.ca                      Services
    M5K 1E6




    Realty Income Corporation
 19 11995 El Camino Real, San Diego,       858-284-5000                           Rent        N/A          N/A          N/A     $5,000,000
    CA 92130




    Royal Paper Corporation -
                                        George Abiaad
    Purchasing
 20 10232 Palm Drive, Santa Fe Springs, 562-903-9030                           Trade Debt     N/A          N/A          N/A     $3,468,853
                                        GAbiaad@royalcorporation.com
    CA 90670




    Savills Commercial Ltd.
 21 12 Booth St., Manchester, England      managementtreasury@savills.com         Rent        N/A          N/A          N/A     $10,125,029
    M2 4AW


     Sony Pictures Releasing
                                           Jake Walker and Jon Stone
    The Brunel Building, 2 Canalside
                                           Jake_Walker@spe.sony.com
 22 Walk, London, England W2 1DG                                               Trade Debt     N/A          N/A          N/A     $3,269,023
                                           UK_Remittances@spe.sony.com
                                           Anneka_Ruparelia@spe.sony.com
     10202 W. Washington Blvd., Jimmy
     Stewart Bldg., Room 323D, Culver
     City, CA 90232
                                           Kerryann Leonard
     The Walt Disney Company Ltd.
                                           + 44 208 222 59 00
 23 The Walt Disney Company Pavilion       Kerryann.Leonard@disney.com         Trade Debt     N/A          N/A          N/A     $12,082,212
                                           DWSS.EMEA.UK.Collection@disney.co
    House, 31-32, Dublin, Ireland D02
                                           m



    Universal
                                      Universalpicturesukandeire.finance@nb
 24 Central Saint Giles St Giles High cuni.com
                                                                               Trade Debt     N/A          N/A          N/A     $20,461,774
    Street, London, England WC2H 8NU




                                           John Mizer
    Vistar Northern California
 25 P.O. Box 951080, Dallas, TX 75395      303-662-7135                        Trade Debt     N/A          N/A          N/A     $12,218,140
                                           John.Mizer@pfgc.com




    Walt Disney Studios Motion
    Pictures
 26 Bank of America Lockbox Sevices                                            Trade Debt     N/A          N/A          N/A     $1,983,947
    13497 Collections, Chicago, IL 60693



    Warner Bros Entertainment UK
                                           Alina Swierzewska
    Limited
 27 Warner House 98 Theobalds Road,        alina.swierzewska@warnerbros.com    Trade Debt     N/A          N/A          N/A     $5,649,945
                                           Liliana.Carata@warnerbros.com
    London, England WC1X 8WB

                                                                                                                                 page 3
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Debtor Name: Cineworld Group plc, et al.                                      Case Number (if known): ____________________


    Warner Bros Pictures Inc.
 28 3903 W Olive Avenue, Burbank, CA       Jennifer Amaya                   Trade Debt     N/A          N/A          N/A     $2,090,900
    91505




    Wilmington Trust                       Jay Campbell
 29 50 South Sixth Street, Suite 1290,     612 217 5676                     Bank Loans     N/A          N/A          N/A     $39,251,667
    Minneapolis, MN 55402                  JCAMPBELL3@WilmingtonTrust.com




    Workman LLP - Feltham
                                          1412258085
 30 4th Floor Minton Place, Station Road, swindon.cashiers@workman.co.uk      Rent         N/A          N/A          N/A     $4,307,214
    Swindon, England SN1 1DA




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    Fill in this information to identify the case and this filing:

   Debtor Name          Cineworld Group plc

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/07/2022                                 /s/ James A. Mesterharm
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 James A. Mesterharm
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               Company No. 05212407

                            CINEWORLD GROUP PLC
                                (the “Company”)

    Minutes of a meeting of the Board of Directors of the Company (the “Board”)
                              held via videoconference
                           on 6 September 2022 at 8pm

Present:          Alicja Kornasiewicz                                 (Chair)

                  Moshe Greidinger

                  Nisan Cohen

                  Camela Galano

                  Israel Greidinger

                  Dean Moore

                  Scott Rosenblum

                  Damian Sanders

                  Ashley Steel

                  Renana Teperberg

In attendance:    Scott Brooker                                Company Secretary

                  Nigel Kravitz                                  General Counsel

                  Advisors from PJT

                  Advisors from Slaughter and May

                  Advisors from Kirkland & Ellis LLP

                  Advisors from Ashurst and Kramer Levin

                  Advisors from AlixPartners, LLP

Apologies:        Arni Samuelsson
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1.       Notice and Quorum

         The Chair declared the meeting open and a quorum present.

2.       Chair

         It was RESOLVED THAT Alicja Kornasiewicz be appointed to chair the meeting.

3.       Apologies

         It was noted that Arni Samuelsson had informed Scott Brooker in advance that he would
         be unable to attend the meeting. Mr Brooker informed the meeting that he had discussed
         the main business to be conducted at the meeting with Mr Samuelsson. Mr Brooker
         explained that Mr Samuelsson had confirmed that he was supportive of the Board
         approving the matters to be discussed at the meeting.

4.       Declarations of Interest

         For the purposes of section 177 and section 182 (as applicable) of the Companies Act
         2006 (the “Act”), and the Articles of Association of the Company and generally, each of
         the directors present confirmed that he or she had no interest in the business to be
         transacted which prevented him or her from being counted in the quorum or voting.

5.       Directors’ Duties of a Company in Financial Difficulty

5.1      The Chair reminded the directors that they must comply with their directors’ duties,
         including those set out in sections 171-177 of the Act, and that in addition to their general
         duty to act in good faith in a manner which would be most likely to promote the success
         of the Company for the benefit of its members as a whole, they must have regard
         (amongst other matters) to each of the factors listed in section 172 of the Act to the extent
         relevant to the business of the meeting, including in particular section 172(3) of the Act,
         which provides that the duty imposed by section 172 is subject to any enactment or rule
         of law requiring directors, in certain circumstances, to consider or act in the interests of
         the creditors of the company.

5.2      The directors noted that their duties are owed on a company by company basis and not
         on a group or divisional basis. The directors further noted that once a company becomes
         insolvent, or there is a doubt as to its solvency, the directors must consider the interests
         of the company’s creditors in order to minimise the potential loss to them.

5.3      It was noted that the directors should consider whether it would be in the interests of the
         Company and its shareholders, creditors, employees and other stakeholders to continue
         trading, taking into account the factors listed in paragraph 6 below. It was further noted
         that the directors should conclude that the Company should continue trading only if there
         is a reasonable prospect that the Company will avoid insolvent administration or
         liquidation, though there is no need for the directors to be certain that the Company will
         avoid those insolvency processes.


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6.       Main Business of the Meeting

6.1      The Chair noted that the Board has, over several months, monitored the Company’s
         financial position and has reviewed and considered materials presented by the
         management of the Company and the Company’s financial and legal advisers in relation
         to such financial position and the possible solutions available. The Chair explained that
         the purpose of the meeting was to consider the appropriate action to take in light of the
         Company’s financial position.

6.2      In particular, the Chair explained that it has been proposed that the Company and certain
         of its subsidiaries should file voluntary petitions for relief under the provisions of chapter
         11 of title 11 of the United States Code, 11 U.S.C. (the “Bankruptcy Code”) in order to
         stabilise the Company’s (and its wider group’s) financial position (the “Chapter 11 Filing”).
         It was also noted that, under these plans, it was expected that the Company and its US,
         UK, Jersey and Hungary based subsidiaries would benefit from funding to be provided
         under a new “debtor in possession” loan facility (the “DIP Financing”) that would help
         them to stabilise their financial position and, in particular, to meet their liabilities as they
         fall due. It was also noted that it was proposed that the Company would provide a
         guarantee and grant security in connection with the DIP Financing. The Board noted that
         it was proposed that, subject to the outcome of this meeting, the formal approval of the
         near-final versions of the definitive documents required to be signed in connection with
         the DIP Financing would be delegated to a committee of the Board.

6.3      It was noted that preparations were being made to commence the Chapter 11 Filing on
         the day of the meeting, but that this was subject to confirmation from the Company’s
         advisers that all of the preparatory work for the Chapter 11 Filing was complete, with all
         necessary pre-filing payments received.

6.4      The Chair explained that the purpose of the meeting was to consider whether to approve:

         (A)     the Chapter 11 Filing;

         (B)     if thought fit, the terms of the DIP Financing (including in relation to the guarantee
                 and security to be provided by the Company in connection with the DIP
                 Financing); and

         (C)     the appointment, in accordance with the Company’s Articles of Association, of a
                 committee of the Board to be authorised to negotiate and approve the final form
                 of the definitive documents in relation to the DIP Financing on the Company’s
                 behalf.

7.       Reasonable Prospects

7.1      The Board referred to previous discussions regarding their duties and the legal framework
         for directors of English companies and considered the question of whether the Company
         has a reasonable prospect of avoiding insolvent liquidation or administration for the
         purposes of sections 214 and 246ZB of the Insolvency Act 1986.


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7.2      It was noted that the Chapter 11 Filing would bring certain protections against creditors
         bringing certain actions and claims against the Company and its subsidiaries who are
         also expected to file for chapter 11 at or around the same time. It was also discussed that
         the DIP Financing, for which the Chapter 11 Filing is a pre-condition, should enable the
         Company and its US and UK subsidiaries to continue meeting their obligations as they
         fall due.

7.3      Accordingly, the Board considered that the Chapter 11 Filing would help the Company to
         avoid insolvent liquidation or administration and was in the best interests of the
         Company’s creditors as a whole and other stakeholders. The Board concluded that the
         Company retains a reasonable prospect of avoiding insolvent liquidation or administration
         for the purposes of sections 214 and 246ZB of the Insolvency Act 1986.

8.       Resolutions

         Following due consideration of the matters discussed at the meeting, including their duties
         as directors of the Company and the proposals in relation to the Chapter 11 Filing, the
         Board RESOLVED THAT:

8.1      Voluntary Petitions for Relief Under Applicable Bankruptcy Law and Seeking
         Necessary Relief

         (A)     In the judgment of the Board, it is desirable and in the best interest of the
                 Company, its interest holders, its creditors, and other parties in interest, that the
                 Company file or cause to be filed voluntary petitions for relief (the “Bankruptcy
                 Petitions”) under the provisions of the Bankruptcy Code in the United States
                 Bankruptcy Court for the Southern District of Texas or such other court of
                 competent jurisdiction (the “Bankruptcy Court”) for the Company any applicable
                 foreign ancillary proceedings for the Company and, in accordance with the
                 requirements of the Company’s governing documents and applicable law, the
                 Board hereby consents to, authorises, and, subject to confirmation from the
                 Company’s advisers that all of the preparatory work for the Chapter 11 Filing has
                 been completed, with all necessary pre-filing payments received, approves the
                 filing of the Bankruptcy Petitions and foreign ancillary proceedings, if any; and

         (B)     Any director or other duly appointed officer of the Company (collectively, the
                 “Authorised Persons”) is hereby authorised and appointed to act as signatory
                 and attorney on behalf of the Company in respect of the Chapter 11 Filing and/or
                 any person to whom such Authorised Persons and/or officers delegate certain
                 responsibilities is hereby authorised to execute (under the common seal of the
                 Company, if appropriate) and file on behalf of the Company and its subsidiaries
                 all petitions, schedules, lists, and other motions, papers, or documents, and to
                 take any and all actions they deem necessary or proper to obtain such relief,
                 including, but not limited to, any action necessary or proper to maintain the
                 ordinary course operations of the Company and/or any of its subsidiaries.

8.2      Retention of Professionals

         (A)     Each of the Authorised Persons is hereby authorised, empowered, and directed
                 to employ: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy counsel;

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                (ii) the law firm of Jackson Walker LLP as co-bankruptcy counsel; (iii) the law firm
                of Slaughter and May as English counsel (iv) PJT Partners LP as investment
                banker; (v) AlixPartners, LLP as financial and restructuring advisor; (vi) Kroll
                Restructuring Administration LLC as claims and noticing agent; (vii) Ashurst LLP
                and Kramer Levin Naftalis & Frankel LLP as independent advisers to the board
                of directors of the Company; and (viii) any other legal counsel, accountant,
                financial advisor, restructuring advisor, or other professional the Authorised
                Persons deem necessary, appropriate, or advisable to retain; each to represent
                and assist the Company in carrying out its duties and responsibilities and
                exercising its rights under the Bankruptcy Code and any applicable law (including,
                but not limited to, the law firms filing any pleadings or responses); and in
                connection therewith, the Authorised Persons are hereby authorised, empowered,
                and directed, in accordance with the terms and conditions hereof, to execute
                (under the common seal of the Company, if appropriate) appropriate retention
                agreements, pay appropriate retainers, and to cause to be filed appropriate
                applications for authority to retain such services; and

         (B)    Each of the Authorised Persons is hereby authorised, empowered, and directed
                to execute (under the common seal of the Company, if appropriate) and file all
                petitions, schedules, motions, lists, applications, pleadings, and other papers,
                and to perform such further actions and execute (under the common seal of the
                Company, if appropriate) such further documentation that the Authorised Persons
                in their absolute discretion deem necessary, appropriate, or desirable in
                accordance with these resolutions.

8.3      Further Actions and Prior Actions

         (A)    The Board hereby authorises any direct or indirect subsidiary of the Company or
                any entity of which the Company or any subsidiary of such Company is the sole
                member, general partner, or managing member, as applicable, to take each of
                the actions described in these resolutions or any of the actions authorised in
                these resolutions, and none of the resolutions contained herein, or action taken
                in furtherance hereto, shall have or cause an adverse effect on any such
                subsidiary or the Company’s interest therein (including without limitation, any
                automatic dissolution, divestiture, dissociation, or like event under applicable law);

         (B)    In addition to the specific authorizations heretofore conferred upon the Authorised
                Persons, the Authorised Persons, either individually or as otherwise required by
                the Company’s governing documents and applicable law, are hereby authorised
                to execute (under the common seal of the Company if appropriate), acknowledge,
                deliver, and file any and all agreements, certificates, instruments, powers of
                attorney, letters, forms, transfer, deeds, and other documents on behalf of the
                Company relating to the Chapter 11 Filing;

         (C)    Each of the Authorised Persons (and their designees and delegates) is hereby
                authorised and empowered, in the name of and on behalf of the Company, to take
                or cause to be taken any and all such other and further action, and to execute
                (under the common seal of the Company, if appropriate), acknowledge, deliver,
                and file any and all such agreements, certificates, instruments, and other
                documents and to pay all expenses, including but not limited to filing fees, in each

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                 case as in such Authorised Person’s absolute discretion, shall be necessary,
                 appropriate, or desirable in order to fully carry out the intent and accomplish the
                 purposes of the resolution adopted herein;

         (D)     The Board has received sufficient notice of the actions and transactions relating
                 to the matters contemplated by the foregoing resolutions, as may be required by
                 the governing documents of the Company, or hereby waives any right to have
                 received such notice;

         (E)     All acts, actions, and transactions relating to the matters contemplated by the
                 foregoing resolutions done in the name of and on behalf of the Company, which
                 acts would have been approved by the foregoing resolutions except that such
                 acts were taken before the adoption of these resolutions, are hereby in all
                 respects approved, confirmed, and ratified as the true acts and deeds of the
                 Company with the same force and effect as if each such act, transaction,
                 agreement, or certificate had been specifically authorised in advance by
                 resolution of the Board; and

         (F)     Any Authorised Person is hereby authorised to perform all other acts, deeds, and
                 other actions as the Company itself may perform, in accordance with its
                 governing documents and applicable law, howsoever arising in connection with
                 the matters above, or in furtherance of the intentions expressed in the foregoing
                 resolutions, including, but not limited to, the negotiation, finalization, execution
                 (under common seal, whether or not expressed to be a deed, as may be
                 necessary or appropriate), and delivery of any other agreements, certificates,
                 instruments, powers of attorney, letters, forms, transfer, deeds, and other
                 documents whatsoever as the individual acting may in his/her absolute and
                 unfettered discretion approve, deem or determine necessary, appropriate or
                 advisable, such approval, deeming or determination to be conclusively evidenced
                 by said individual taking such action or the execution thereof.

8.4      Appointment of Chief Restructuring Officer

         (A)     The Board hereby creates the office of Chief Restructuring Officer.

         (B)     James A. Mesterharm is hereby appointed to serve as the Chief Restructuring
                 Officer of the Company until his successor has been duly appointed or until his
                 earlier resignation, removal from office, or death.

         (C)     The Chief Restructuring Officer shall report to the Board and the special
                 committee of the Board, in coordination with the Chief Executive Officer, the Chief
                 Operations Officer, and the Chief Financial Officer.

9.       Approval of the terms of the DIP Financing

9.1      The Board considered the near-final form draft term sheet in relation to the DIP Financing.
         The Board was of the opinion that the provisional terms of the DIP Financing, including
         the provision of a guarantee and the granting of security by the Company in connection
         with the DIP Financing, was in the best interests of the Company, the Company’s creditors
         as a whole and other stakeholders.



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9.2      Accordingly, the Board resolved that the terms of the DIP Financing as contained in the
         DIP Term Sheet be and are hereby approved.

10.      Committee of the Board

10.1     The Board agreed that a committee should be established to consider in detail drafts of
         the relevant documents and, if thought fit, be authorised to negotiate and approve the
         final form of the definitive documents in relation to the DIP Financing on the Company’s
         behalf.

10.2     Accordingly, the Board resolved that, pursuant to Article 92 of the Company’s Articles of
         Association, a committee of the Board consisting of any two directors of the Company be
         constituted (the “Committee”) with the following powers, authorities and discretions:

         (A)     to negotiate and approve, on behalf of the Company, the final form of each of the
                 agreements, deeds and documents which may be required for the DIP Financing
                 and the transactions contemplated thereby;

         (B)     to authorise, on behalf of the Company, any member or members of the
                 Committee, or any person or persons appointed by the Committee, to execute
                 and deliver on behalf of the Company (whether under hand or seal) any
                 agreement, deed, or document relating to or connected with the DIP Financing,
                 including any certificate, notice, or document to be signed and/or despatched by
                 the Company under or in connection with the DIP Financing;

         (C)     to authorise, on behalf of the Company, any member or members of the
                 Committee, or any person or persons appointed by the Committee, to take any
                 step on behalf of the Company which may be considered necessary or desirable
                 by the Committee in connection with the DIP Financing; and

         (D)     if required, to authorise, on behalf of the Company, any subsidiary of the
                 Company to enter into any document, and grant any guarantee, in connection
                 with the DIP Financing.




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